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                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION



 In re:
                                                     Case Number: 23-30013
 B GSE GROUP, LLC, dba
 BULLERDICK GSE, LLC,                                Chapter 11


                               Debtor.

            APPLICATION OF DAVID M. SCHILLI FOR ALLOWANCE OF
                  SUBCHAPTER V TRUSTEE COMPENSATION

        David M. Schilli, who was initially appointed as the Subchapter V Trustee herein (the
“Subchapter V Trustee”), respectfully submits his Application for Allowance of Subchapter V
Trustee Compensation (the “Application”) pursuant to sections 105, 330, 331, 503, 507 and 1183
under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Rule
2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rule of
Bankruptcy Procedure 9013-1(e)(7) and requests that this Court award him his reasonable
compensation for professional services rendered as the Subchapter V Trustee for the period from
the Petition Date (as defined below) through January 30, 2023 (the “Fee Period”), in the amount
of $2,520.00. In support thereof, the Subchapter V Trustee states as follows:

                                         JURISDICTION

         1.     This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and
1334. Venue of this case and this Application in this Court are proper pursuant to 28 U.S.C. §§
1408 and 1409. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The bases for
relief sought herein are, among other provisions, sections 105, 330, 331, 503, 507, and 1183 of the
Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule of Bankruptcy Procedure 9013-1(e).

                                         BACKGROUND

       2.    On January 6, 2023 (the “Petition Date”), Debtor B GSE Group, LLC dba
Bullerdick GSE, (the “Debtor”) filed a voluntary petition in this Court under Chapter 11 of the
Bankruptcy Code and elected treatment as a Subchapter V Small Business Debtor [Doc. No. 1].

        3.     On January 9, 2023, the United States Bankruptcy Administrator for the Western
District of North Carolina (the “Bankruptcy Administrator”) filed a Notice of Appointment of
Trustee pursuant to Bankruptcy Code § 1183(a) appointing David M. Schilli of Robinson,
Bradshaw & Hinson, P.A. as Subchapter V Trustee.

        4.      On January 9, 2023, the Debtor arranged for a hearing on January 11, 2023, at 9:30
a.m. (the “First Day Hearing”) for the Court to consider on an expedited basis its Motion to Use
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Cash Collateral (D.E. 6), its Motion for Authority to Pay Pre-Petition Payroll, Payroll Taxes,
Employee Benefits and Other Related Expenses (D.E. 7), and its Motion for Entry of Order
Providing for Adequate Assurance to Utility Companies (D.E. 8) (collectively, the “First Day
Motions”).

        5.     The Subchapter V Trustee prepared for and attended the First Day Hearing on the
First Day Motions, but noted for the Court that, before the First Day Hearing, he had not had
sufficient time to complete his investigation into his disinterestedness due to the limited time
provided to perform the necessary diligence on the more than 500 parties in interest listed on the
Debtor’s papers filed with its voluntary petition.

      6.      Following completion of that investigation, and after consultation with the
Bankruptcy Administrator, the Subchapter V Trustee rejected his appointment, and the Bankruptcy
Administrator promptly appointed Cole Hayes as subchapter V trustee in the case (the “Substitute
Subchapter V Trustee”).

                                SUMMARY OF SERVICES RENDERED

        7.      During the Fee Period, the Subchapter V Trustee performed professional services
in his capacity as the Subchapter V Trustee totaling 4.5 hours at the hourly rate of $560.00.1 The
services rendered by the Subchapter V Trustee during the course of this proceeding are described
in detail on the itemization of services rendered that is attached hereto as Exhibit A. Exhibit A
includes certain time entries for services performed by the Subchapter V Trustee in this case, for
which the Subchapter V Trustee is not seeking compensation from the estate, as reflected on
Exhibit A. As set forth on Exhibit A, the Subchapter V Trustee seeks compensation totaling
$2,520.00. All services for which the Subchapter V Trustee requests compensation were performed
by or on behalf of the Subchapter V Trustee.

       8.      The Subchapter V Trustee has not incurred any expenses in connection with his
work in this proceeding.

        9.     The Subchapter V Trustee has not previously sought nor received an award of any
fees or reimbursement of any expenses.

       10.   Based on the hours incurred and the Subchapter V Trustee’s hourly rate, the
Subchapter V Trustee seeks approval of fees incurred for the Fee Period in the amount of
$2,520.00.

        11.    Consistent with the factors enumerated in Bankruptcy Code § 330, the amount
requested by the Subchapter V Trustee is fair and reasonable given (a) the complexity of the case,
(b) the time expended, (c) the nature and extent of the services rendered, (d) the value of such
1
 The hourly rate set forth above and in Exhibit A reflects an approximate ten percent (10%) discount to the hourly
rate the Subchapter V Trustee customarily charges to represent clients in bankruptcy-related matters and in matters
other than bankruptcy-related matters. Subchapter V Trustee is discounting that customary hourly rate because he
views his role as a subchapter V trustee as a service to the Court, the bar practicing before this Court and the parties
to subchapter V cases. The Subchapter V Trustee is willing to so discount his customary hourly rate so long as it is
without prejudice to or waiver of his right to seek to be retained and compensated at his normal hourly rate in any
other proceeding before this or any other Court.


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services, and (e) the costs of comparable services other than in a case under this title. This
Application conforms to this Court’s Guidelines for Compensation and Expense Reimbursement
of Professionals (“Guidelines”), including the inclusion of the project categories set forth in the
Guidelines.

       12.     No agreement or understanding exists between the Subchapter V Trustee or any
other person for sharing of compensation to be received by him for services rendered in or in
connection with this case, save and except that sharing that comes about by virtue of the
Subchapter V Trustee’s position as a shareholder in Robinson, Bradshaw & Hinson, P.A.; and no
other persons rendering services or connected with this case for sharing in the compensation of
such other person.

        13.    The Subchapter V Trustee requests that the Court allow compensation for his
services rendered as set forth on the attached Exhibit A pursuant to the proposed Order attached
hereto as Exhibit B.

       14.    Before filing this Application, the Subchapter V Trustee has communicated with
the Bankruptcy Administrator and the Substitute Subchapter V Trustee with respect to this
Application and the amount of fees sought to be awarded herein, and neither the Bankruptcy
Administrator nor the Substitute Subchapter V Trustee has any objection to this Application or the
amount of fees sought to be awarded herein.

                                             NOTICE

       15.     Notice of this Application has been given to (a) the Bankruptcy Administrator; (b)
the Debtor, through its counsel; (c) the Substitute Subchapter V Trustee; and (d) those parties
requesting notice pursuant to Bankruptcy Rule 2002.

       WHEREFORE, the Subchapter V Trustee prays that the Court:

        A.     Allow payment for services rendered to the estate as Subchapter V Trustee in the
total amount of $2,520.00 pursuant to the proposed Order attached hereto as Exhibit B; and

       B.      Grant such other and further relief as is just and proper.

 February 13, 2023                                Respectfully submitted,

                                                  /s/ David M. Schilli
                                                  David M. Schilli
                                                  N.C. Bar No. 17989
                                                  ROBINSON BRADSHAW & HINSON, P.A.
                                                  101 N. Tryon St., Suite 1900
                                                  Charlotte, NC 28246
                                                  Telephone: 704-377-8346
                                                  Email: dschilli@robinsonbradshaw.com

                                                  Subchapter V Trustee



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                                 EXHIBIT A

                   Detailed Itemization of Services Rendered
                                  [Attached]
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                                                                                         Robinson Bradshaw
                                                                                         101 North Tryon Street, Suite 1900
                                                                                         Charlotte, NC 28246
                                                                                         t: 704.377.2536
                                                                                         robinsonbradshaw.com


                                                                                         Fed. Tax ID XX-XXXXXXX




David Schilli Subchapter V Trustee                                                 Invoice Date           February 13, 2023
c/o Robinson, Bradshaw & Hinson, P.A.                                              Invoice No.                      692072
101 North Tryon Street, Suite 1900
Charlotte, NC 28246

RE: B GSE Group LLC
Client ID: 28376 Matter ID: 00012


                                                     Invoice Summary

Total Professional Services This Invoice                                                                   $         2,520.00
Total Disbursements This Invoice                                                                           $             0.00

Total This Invoice                                                                                         $         2,520.00




 Payment Options

 Check                                                        Wire/ACH
 Make check payable to:                                       Bank Name: Bank of America
 Robinson Bradshaw                                            Bank Address: 100 N. Tryon Street, Charlotte, NC 28255
 101 N. Tryon Street, Suite 1900                              Account Name: Robinson, Bradshaw & Hinson, PA
 Charlotte, NC 28246                                          ABA No (Wire): 026009593
                                                              ABA No (ACH): 053000196
                                                              Account No. 237023224173
                                                              SWIFT Code: BOFAUS3N (International wires only)
                                            Charges due upon receipt of invoice
                                   Please reference invoice or client number on remittance
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                                                                                       Robinson Bradshaw
                                                                                       101 North Tryon Street, Suite 1900
                                                                                       Charlotte, NC 28246
                                                                                       t: 704.377.2536
                                                                                       robinsonbradshaw.com


                                                                                       Fed. Tax ID XX-XXXXXXX




 David Schilli Subchapter V Trustee                                             Invoice Date            February 13, 2023
 c/o Robinson, Bradshaw & Hinson, P.A.                                          Invoice No.                       692072
 101 North Tryon Street, Suite 1900
 Charlotte, NC 28246

 RE: B GSE Group LLC
 Client ID: 28376 Matter ID: 00012


For Professional Services Rendered Through January 31, 2023


 Date       Professional    Task         Narrative                                                  Hours           Amount
 01/09/23        DMS                 2   Review and analyze petition                                  0.20            112.00
 01/09/23        DMS                 2   Communicate with Bankruptcy Administrator re                 0.20            112.00
                                         case filing and background
 01/09/23        DMS                 2   Communicate with debtor's counsel re background              0.20            112.00
                                         facts and first day motions
 01/10/23        DMS                 2   Review and analyze first day motions in                      0.50            280.00
                                         preparation for first day hearings
 01/11/23        DMS                 2   Attend first day motions hearings                            0.90            504.00
 01/11/23        DMS                 2   Meet with Truist and judgment creditor re                    0.70            392.00
                                         background facts and issues
 01/11/23        DMS                 2   Meet with Bankruptcy Administrator re background             0.30            168.00
                                         facts and first day issues
 01/12/23        DMS                 2   Review, revise and communicate with interested               0.50            280.00
                                         parties re first day orders
 01/13/23        DMS                 2   Draft notice of disinterestedness                            0.00                  0.00
 01/17/23        DMS                 2   Review and analyze correspondence between                    0.20            112.00
                                         debtor and court re first day orders
 01/18/23        DMS                 2   Confer with Bankruptcy Administrator re conflicts,           0.00                  0.00
                                         disclosures and resignation issues
 01/20/23        DMS                 2   Confer with Cole Hayes re case transition to new             0.00                  0.00
                                         trustee
                                                                                     2 Total:                       2,072.00

 01/30/23        DMS                 3   Draft fee application and hearing notice                     0.80            448.00
                                                                                     3 Total:                         448.00
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Invoice Date: 02/13/23                       Invoice No. 692072                                              Page: 2



Date        Professional    Task      Narrative                                               Hours         Amount
                                                                            Total Fees:             $       2,520.00


                                       Summary of Professional Services

                  Professional                             Hours          Rate            Amount
                  David Schilli                              4.50       560.00           2,520.00
                                                            4.50                        $2,520.00



                                                                    Total Current Billing :             $   2,520.00
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                                EXHIBIT B

                               Proposed Order
                                 [Attached]
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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

    In re:
                                                                 Case Number: 23-30013
    B GSE GROUP, LLC, dba
    BULLERDICK GSE, LLC,                                         Chapter 11


                                        Debtor.

                ORDER GRANTING APPLICATION OF DAVID M. SCHILLI FOR
                ALLOWANCE OF SUBCHAPTER V TRUSTEE COMPENSATION

             THIS MATTER came before the Court to consider the Application of David M. Schilli for

Allowance of Subchapter V Trustee Compensation [Doc. No. ___] (the “Application”) filed by

David M. Schilli of Robinson, Bradshaw & Hinson, P.A. seeking allowance of compensation for

the Fee Period.2 After considering the matters set forth in the Application, the official file, and the

comments of any parties wishing to be heard, the Court finds that the Application should be

allowed, and it is hereby:

             ORDERED that the Application is granted, and David M. Schilli of Robinson, Bradshaw

& Hinson, P.A. is allowed compensation in the amount of $2,520.00 for the Fee Period.


2
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Application.
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       IT IS FURTHER ORDERED that the Debtor is authorized to pay without further order of

the Court the amounts allowed hereby.

       IT IS FURTHER ORDERED that this Order is entered without prejudice to the right of

any other trustee appointed under Subchapter V of the Bankruptcy Code to apply for compensation

and reimbursement of expenses.




 This Order has been signed electronically.                  United States Bankruptcy Judge
 The Judge’s signature and Court’s seal
 appear at the top of the Order.




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                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of Court using the
CM/ECF system, which will electronically serve notification of such filing to those persons that
have properly registered for such electronic service.


       Dated: February 13, 2023.

                                                     /s/ David M. Schilli
                                                     David M. Schilli
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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


 In re:
                                                      Case Number: 23-30013
 B GSE GROUP, LLC, dba
 BULLERDICK GSE, LLC,                                 Chapter 11


                                Debtor.


                      NOTICE OF OPPORTUNITY FOR HEARING
     (No Protest Notice – No Hearing Will be Held Unless Request for Hearing is Filed)

        PLEASE TAKE NOTICE that David M. Schilli, Subchapter V Trustee (the “Subchapter V
Trustee”) has filed his Application of David M. Schilli for Allowance of Subchapter V Trustee
Compensation (the “Application”) in this case.

        PLEASE TAKE FURTHER NOTICE that your rights may be affected by the Application.
You should read the Application carefully and discuss it with your attorney. If you do not have an
attorney, you may wish to consult with one.

         PLEASE TAKE FURTHER NOTICE that for a hearing to be held on the Application,
written responses, if any, must be filed on or before February 27, 2023 (the “Response Deadline”)
to be considered. If you do not want the Court to grant the relief requested in the Application, or if
you oppose it in any way, you MUST:

          1.    File a formal, written response with the Bankruptcy Court at:

                        Clerk, United States Bankruptcy Court
                        401 West Trade Street
                        Charlotte, NC 28202

          2.    Serve a copy of your response on all parties in interest, including:

                        a)      U.S. Bankruptcy Administrator
                                401 West Trade Street, Suite 2400
                                Charlotte, NC 28202

                        b)      David M. Schilli
                               Robinson, Bradshaw & Hinson, P.A.
                               101 North Tryon Street, Suite 1900
                               Charlotte, North Carolina 28246

        PLEASE TAKE FURTHER NOTICE that IF RESPONSES ARE TIMELY FILED, a
hearing on the Application will be held on March 14, 2023 at 9:30 a.m. (ET) before The Honorable
J. Craig Whitley at the U.S. Courthouse, JCW Courtroom 2B, 401 West Trade Street, Charlotte,
North Carolina 28202.
   CasePLEASE
         23-30013 TAKEDoc  74 Filed
                         FURTHER       02/13/23
                                     NOTICE     that, Entered
                                                      if you or02/13/23  14:50:24
                                                                your attorney do not Desc
                                                                                     file a Main
                                                                                            written
response to the Application on orDocument         Page 13
                                  before the Response        of 13 the Court may grant the relief
                                                          Deadline,
requested in the Application without a hearing. No further notice will be given.


 February 13, 2023                               Respectfully submitted,

                                                 /s/ David M. Schilli
                                                 David M. Schilli
                                                 N.C. Bar No. 17989
                                                 ROBINSON BRADSHAW & HINSON, P.A.
                                                 101 N. Tryon St., Suite 1900
                                                 Charlotte, NC 28246
                                                 Telephone: 704-377-8346
                                                 Email: dschilli@robinsonbradshaw.com

                                                 Subchapter V Trustee




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